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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    PUBLIC EMPLOYEES’           *
    RETIREMENT SYSTEM OF        *
    MISSISSIPPI, individually and on
                                *
    behalf of all others similarly situated,
                                *
                                *
            Plaintiff,          *
                                *
         v.                     *      4:20-CV-00005-ELR
                                *
    MOHAWK INDUSTRIES, INC., et *
    al.,                        *
                                *
            Defendants.         *
                                *
                        SCHEDULING ORDER

         Upon review of the information contained in the Joint Preliminary Report and

Discovery Plan form completed and filed by the Parties [Doc. 65], the Court orders

that the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules of

Civil Procedure and Local Rules of this Court except as herein modified:

                       Event                                 Proposed Deadline
           Exchange of Rule 26 Initial                       November 29, 2021
                   Disclosures
            Substantial Completion of                            April 8, 2022
             Document Productions1
          Class Certification Motion Due                       January 26, 2022

1
  The Parties agree that they will produce documents on a rolling basis in advance of the substantial
completion deadline. [See Doc. 65-2 at 2 n.1]. The Parties shall confer in good faith and endeavor
to agree upon prioritized custodians and productions and interim deadlines for such productions.
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Class Certification Opposition Due                 March 9, 2022
  Class Certification Reply Due                    May 4, 2022
    Deadline to Complete Fact                     August 22, 2022
             Discovery
 Rule 26(a)(2) Expert Disclosures               September 12, 2022
            and Reports
   Rule 26(a)(2) Rebuttal Expert                 October 12, 2022
     Disclosures and Reports
    Expert Discovery Deadline                   November 22, 2022
     Dispositive Motions Due                    December 30, 2022
Oppositions to Dispositive Motions               January 30, 2023
                Due
 Replies in Support of Dispositive               February 27, 2023
           Motions Due
 Joint Consolidated Pretrial Order       Forty-five (45) days after ruling(s)
                Due                            on dispositive motions

 SO ORDERED, this 16th day of November, 2021.




                                          ______________________
                                          Eleanor L. Ross
                                          United States District Judge
                                          Northern District of Georgia




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